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     Donald E.J. Kilmer, Jr., (SBN: 179986)
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     Attorney for Defendant:
 6   ULYSSES SIMPSON GRANT EARLY
 7
                           UNITED STATES DISTRICT COURT
 8                        EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,
                                               CASE NO.: 2:12-CR-00207 TLN
10                        Plaintiff,
                                               STIPULATION AND [PROPOSED]
11
                          v.                   ORDER MODIFYING TERMS OF
12                                             PRETRIAL RELEASE TO REMOVE
     RYAN McGOWAN, ROBERT                      DEFENDANT FROM PRETRIAL
13   SNELLING, ULYSSES SIMPSON                 SERVICES SUPERVISION
14   GRANT EARLY IV, and THOMAS LU,
                                               Judge:   Troy L. Nunley (TLN)
15                        Defendants.          Courtroom:     2, 15th Floor

16

17        This matter was initiated by the filing of an Indictment on May 31, 2012,
18
     charging the defendant, ULLYSSES SIMPSON GRANT EARLY, IV, with a violation
19
     (Count Six) of 18 U.S.C. § 371 – Conspiracy to Make a False Statement With Respect
20

21   to Firearm Record.

22         The defendant made an initial appearance on June 1, 2012, at which time not
23   guilty pleas were entered. An Unsecured Appearance Bond was filed that same day
24
     (Doc #21), Along with a Notice to Defendant Being Released (Doc #22) and an Order
25
     for Release of Person in Custody (Doc #23).
26

27         On or about June 3, 2014 Darryl Walker of U.S. Pretrial Services proposed

28   that Mr. Early be removed from Pretrial Services supervision as Mr. Early:


                                               1
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           1.     Initially self-surrendered.
 1
           2.     Does not possess a pass-port.
 2
           3.     Has been fully in compliance with the terms of his pre-trial supervision.
 3
           4.     And, Mr. Early would remain subject to the Appearance Bond.
 4

 5                                       STIPULATION
 6
           In light of the circumstances set forth herein above, the defendant, ULYSSES
 7
     SIMPSON GRANT EARLY, IV, through his counsel of record, Donald Kilmer and
 8

 9   plaintiff United States of America, through its counsel, Assistant United States

10   Attorney William Wong, agree and stipulate that the conditions of Mr. Early’s
11
     pretrial release be modified to remove him from pretrial supervision by the Eastern
12
     District Pretrial Services office. All other conditions of release shall remain in effect.
13
     IT IS SO STIPULATED.
14

15   Dated:       July 2, 2014                       /s/ Donald Kilmer
                                                     Donald Kilmer
16                                                   Attorney for Defendant EARLY
17
     Dated:       July 2, 2014                       /s/ William Wong
18                                                   William Wong
                                                     Assistant United States Attorney
19
                                             ORDER
20

21         GOOD CAUSE APPEARING THEREFORE, and pursuant to the stipulation

22   of the parties, the defendant's conditions of pretrial release are hereby modified
23
     so as to remove Mr. Early from pretrial supervision currently conducted through
24
     the Eastern District's Pretrial Services Office. All other conditions of release shall
25
     remain in effect. IT IS SO ORDERED.
26

27   Dated: July 2, 2014

28
